Case 21-05166-grs       Doc 221    Filed 07/22/22 Entered 07/22/22 11:37:05         Desc Main
                                   Document     Page 1 of 2



                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF KENTUCKY
                                LEXINGTON DIVISION

 IN RE

 HDR FARMS INCORPORATED                                                  CASE NO. 20-50888

 DEBTOR

 HDR FARMS INCORPORATED                                                          PLAINTIFF
 LIQUIDATING TRUST

 V.                                                                        ADV. NO. 21-5166

 APPLIED BOTANICS LLC f/k/a XSI                                                DEFENDANT
 USA, LLC, et al.

                                   ORDER TO SUPPLEMENT

       Discovery has closed and multiple Defendants have filed motions for summary judgment.

[ECF Nos. 200, 203, 204, 209.] The parties responded and replied [ECF Nos. 211-215] and a

hearing was held on July 21, 2022. [ECF No. 216.] After explaining the likely decisions, the

motions were taken under submission with the promise that the issues of causation and damages

are subject to additional study.

       The Defendants argue the Plaintiff cannot prove they caused damages because there is no

proof the Defendants Annette Cox and Todd Mercer ever intended to invest in the Debtor HDR

Farms Incorporated. Underlying each count in the Amended Complaint is the Plaintiff’s

allegations that the Defendant Kawel Laubach breached his fiduciary duty by causing the

creation of a separate company and diverting $2.6 million that Cox and Mercer planned to invest

in HDR Farms to the new company. [See ECF No. 17, Count 1.] The other Defendants are

allegedly liable because LauBach recruited them to join his scheme.




                                               1
      Case 21-05166-grs          Doc 221        Filed 07/22/22 Entered 07/22/22 11:37:05                               Desc Main
                                                Document     Page 2 of 2


                       The Plaintiff’s theory of causation and damages was considered during the July 21 oral

                argument. It appears from the comments made at the hearing that the Plaintiff is arguing that the

                Defendants’ tortious conduct caused total damages in the amount of the diverted funds. But

                there is still uncertainty regarding the type of damages claimed and the necessary link to the facts

                presented. Civil Rule 56 provides for an opportunity to support or address a fact that is not

                sufficiently addressed by the papers. FED. R. CIV. P. 56 (incorporated by FED. R. BANKR. P.

                7056). Additional information is necessary to determine whether there are genuine issues of

                material fact as to any losses suffered by the Defendants’ conduct and the connection to the

                underlying causes.

                       Therefore, the Plaintiff is ORDERED to supplement the record with a specific statement

                of each type of damages claimed and the total amount sought for each type. The Plaintiff should

                follow that description with a reference to, and brief explanation of, the evidence the Plaintiff

                will produce at trial to show that the Defendants’ conduct caused those damages and how the

                Plaintiff calculates the amounts claimed. If the Plaintiff refers to evidence outside the record, it

                should supplement the record with that evidence (or state why it is not in the record at this time).

                       The Plaintiff’s supplement is limited to 10 pages and is due on or before July 26, 2022.

                The Defendants may file responses to the Plaintiff’s supplement, limited to 5 pages, on or

                before July 29, 2022, at 12:00 noon (EST).




                                                                  2



___________________________________________________________________________________________
The affixing of this Court's electronic seal below is proof this document has been signed by the Judge and
electronically entered by the Clerk in the official record of this case.


                                                                      Signed By:
                                                                      Gregory R. Schaaf
                                                                      Bankruptcy Judge
                                                                      Dated: Friday, July 22, 2022
                                                                      (grs)
